

People v Rodney (2022 NY Slip Op 00262)





People v Rodney


2022 NY Slip Op 00262


Decided on January 13, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 13, 2022

Before: Acosta, P.J., Manzanet-Daniels, González, Mendez, Rodriguez, JJ. 


Ind No. 3777/16 Appeal No. 15060 Case No. 2018-04063 

[*1]The People of The State of New York, Respondent, 
vTerrance Rodney, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Kenisha Marks of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Dana Poole of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ellen Biben, J.), rendered January 24, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 13, 2022
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








